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                                                   January 12, 2022

Honorable George Hanks                                                      Submitted via EC/CMF
United States District Judge
515 Rusk St., Room 6202
Houston, Texas 77002

Re:       Civil Action No. 4:21-cv-01356; John Doe v. The University of Texas M.D.Anderson
          Cancer Center, et al.; In the U.S. District Court for the Southern District of Texas, Houston
          Division

Dear Judge Hanks:

         Consistent with the Court’s discussion during the hearing on January 6, 2022, the
 following letter identifies and further clarifies Plaintiff’s claims asserted in his Second Amended
 Complaint, the Defendant(s) to whom each claim applies, and their respective capacities.
 Plaintiff has also referenced the relief requested under each section pursuant to your request.

SUMMARY OF CLAIMS, RESPECTIVE DEFENDANTS AND RELIEF REQUESTED

        As indicated in Plaintiff’s Second Amended Complaint removing UTPD as a defendant,
Plaintiff is not bringing any claims against UTPD as an entity-Defendant, as it is claimed by
Defendants to be a non-jural entity not subject to suit. Plaintiff is not waiving or dismissing
claims against individual defendants who may be affiliated with UTPD.

A.        Employment Discrimination – Violation of Title VII of the Civil Rights Act of 1964,
          42 U.S.C. section 2000e et seq. and Texas Labor Code section 21.000 et seq., and all
          subsequent amendments and supplemental provisions, based on sex/gender (male),
          national origin (USA of Asian/Taiwanese descent), retaliation for reporting and/or seeking
          protection from violations of employment rights, and disability (perceived as mentally
          impaired and/or mentally disabled), for adverse personnel actions including emergency
          suspension, continuing suspension, constructive discharge, delayed reinstatement,
          discriminatory transfer to another laboratory, mandatory psychiatric assessment and
          management plan mandates (discriminatory and disparate treatment conditions of
          employment placed on John Doe), all in violation of the Texas Labor Code and Title VII.

          Defendant against whom claims are brought:
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      1. MD Anderson Cancer Center

      Relief Requested: All relief permissible for employment discrimination under federal
      and state law, including monetary damages, attorneys’ fees and costs, injunctive,
      declaratory and equitable relief (to the extent authorized by existing law). Monetary
      damages under the state and federal anti-discrimination laws may include loss of back
      pay and employment benefits, front pay, compensatory damages such as future pecuniary
      losses, past, present and future salary and benefits, emotional pain, suffering,
      inconvenience, mental anguish, damage to his reputation and future learning and
      professional opportunities, and other nonpecuniary losses, prejudgment interest, post
      judgment interest, attorneys’ fees, expert witness fees, and costs.

      Declaratory, injunctive and equitable relief is sought against Defendant MDA and may
      include retroactive, continuing and prospective injunctive relief to promptly correct all
      continuing and prospective educational and work records, including but not limited to,
      the Medical Student Performance Evaluation (“MSPE”) letter, formerly known as the
      “Dean’s Letter”; and to correct any dissemination of such assessments, notations or other
      publications; and to promptly prepare, record, store and present such records without
      reference to any complaint, investigation, academic or disciplinary proceedings, findings
      and related comments, as if the wrongful events had not occurred; and to reinstate John
      Doe to the positions he had or should have had but for Defendants’ wrongful actions.

B.    Violation of Due Process Rights – Defendants violated Plaintiff’s procedural and
      substantive constitutional rights protected by Article I, Section 19 of the Texas
      Constitution, as well as his constitutional rights protected by the Fourth, Fifth, and
      Fourteenth Amendments of the United States Constitution, including but not limited to,
      his property and liberty interests in his continued employment and education, as provided
      under 42 U.S.C. §1983.

      Defendants against whom claims are brought:

      1. Margaret McNeese, Individually and in her official capacity as UTH Vice Dean for
         Admissions and Student Affairs and UTH Title IX Coordinator,

      2. Deana Moylan, Individuallyand in her official capacity as Title IX Coordinator and
         Associate Vice President of Diversity and Equal Opportunity at UTHealth,

      3. Tiffany Dillard Obeng, Individually and in her official capacity as EEO Advisor in
         theDiversity & Equal Opportunity Department at UTHealth,

      4. Sheri Wakefield, Director, Individually and in her official capacity as EEO & Title
         IX Coordinator, HR EEO at MDA,

      5. Yolan A. Campbell, Individually and in her official capacity as Associate Vice
         President, HR Operations, HR Administration at MDA,
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      6. Karen D. Reed (Harvey), Individually and in her official capacity as Human
         ResourcesSpecialist, HR at MDA,

      7. Michael Redwine, Individually and in his official capacity as UTMS, Chair of the
         SEPC.

      Relief Requested: Plaintiff seeks all non-monetary relief permissible under a claim for
      violation of the Due Process clause of the Texas Constitution which includes injunctive,
      declaratory and equitable relief, such as the holding of a due process hearing(s) for those
      hearings not held (i.e., interim or emergency suspension action without hearing) and/or
      rehearings for hearings held (SEPC) but constitutionally infirm. Plaintiff is not seeking
      any monetary relief under the Texas Constitution.

      Plaintiff also seeks all relief permissible under a claim for violation of the Due Process
      clause of the United States’ Constitution as provided under 42 U.S.C. §1983 against the
      individual defendants (as referenced above) in their individual capacities, and includes
      monetary damages, attorneys’ fees and costs, punitive damages, injunctive, declaratory
      and equitable relief. Monetary damages may include loss of back pay and employment
      benefits, front pay, compensatory damages such as future pecuniary losses, past, present
      and future salary and benefits, emotional pain, suffering, inconvenience, mental anguish,
      damage/losses to his reputation and future learning and professional opportunities, and
      other nonpecuniary losses, prejudgment interest, post judgment interest, attorneys’ fees,
      expert witness fees, and costs.

      Injunctive, declaratory and equitable relief is sought against the individual defendants
      in their official capacities and seeks continuing and prospective injunctive relief to
      promptly correct all continuing and prospective educational and work records, including
      but not limited to, the Medical Student Performance Evaluation (“MSPE”) letter, formerly
      known as the “Dean’s Letter”; to correct any dissemination of such assessments, notations
      or other publications; and to promptly prepare, record, store and present such records
      without reference to any complaint, investigation, academic or disciplinary proceedings,
      findings and related comments, as if the wrongful events had not occurred; and to reinstate
      John Doe to the positions he had or should have had but for Defendants’ wrongful actions.

C.    Improper Criminal Prosecution/False Arrest – Violations of Article I, Section 19 of
      the Texas Constitution and Title 42 U.S.C. §1983 of the Fourth, Fifth and Fourteenth
      Amendments of the United States Constitutions, based on actions consistent with or
      reminiscent of a claim for malicious prosecution of criminal proceedings, false arrest,
      and/or for malicious criminal prosecution through the filing and prosecution of false
      charges for harassing communications.

      Defendants against whom claims are brought:

      1. Vicki L. King, Individually and/or in her official capacity as Assistant Chief,
         University Police, Police Department-Special Ops, Converged Threat / Risk
         Protection & Investigationsat UTPD,
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      2. Kimberly D. Miller, Individually and/or in her official capacity as Detective in the
         Threat Management Investigations division with UTPD,

      3. Patricia J. Williams, Individually and/or in her official capacity as Inspector in the
         Threat Management Unit, Special Operations Bureau with UTPD,

      4. Sheri Wakefield, Individually and/or in her official capacity as Director, EEO &
         Title IXCoordinator, HR EEO at MDA,

      5. Margaret McNeese, Individually and/or in her official capacity as UTH Vice Dean
         for Admissions and Student Affairs and UTH Title IX Coordinator, and

      6. Deana Moylan, Individually and/or in her official capacity as Title IX Coordinator
         and Associate Vice President of Diversity and Equal Opportunity at UTHealth.

      Relief Requested: Plaintiff seeks all relief permissible under Article I, Section 19 of the
      Texas Constitution, including injunctive, declaratory and equitable relief.

      Plaintiff also seeks all relief permissible under Title 42 U.S.C. §1983, including monetary
      damages, attorneys’ fees and costs, punitive damages, injunctive, declaratory and
      equitable relief. Monetary damages against the individual defendants in their individual
      capacities under 42 U.S.C. §1983 may include loss of back pay and employment benefits,
      front pay, compensatory damages such as future pecuniary losses, past, present and future
      salary and benefits, emotional pain, suffering, inconvenience, mental anguish,
      damage/losses to his reputation, future learning and professional opportunities, and other
      nonpecuniary losses, prejudgment and post judgment interest, attorneys’ fees, expert
      witness fees, and costs.

      Declaratory, Injunctive and Equitable Relief is sought against the individual defendants
      in their official capacities and includes non-monetary relief such as continuing and
      prospective injunctive, declaratory and equitable relief as set forth in section B, supra,
      and as alleged in Plaintiff’s Second Amended Complaint.

D.    Denial of Equal Protection – Violations of constitutional rights protected by Sections
      3 and 3a of Article I of the Texas Constitution, and as protected by the Fourteenth
      Amendment of the Constitution of the United States. The actions of Defendants reflect
      unconstitutional gender bias and sex discrimination supporting John’s claims that MDA
      and UTHealth violated John’s equal protection rights as guaranteed by Article I, Sections
      3 and 3a of the Texas Constitution, and as guaranteed by the Fourteenth Amendment of
      the U.S. Constitution, and therefore are violations of 42 U.S.C. §1983.

      Defendants against whom claims are brought:

      1. Margaret McNeese, Individually and in her official capacity as UTH Vice Dean
         forAdmissions and Student Affairs and UTH Title IX Coordinator,
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 2. Deana Moylan, Individually and in her official capacity as Title IX Coordinator
    andAssociate Vice President of Diversity and Equal Opportunity at UTHealth,

 3. Tiffany Dillard Obeng, Individually and in her official capacity as EEO Advisor in
    theDiversity & Equal Opportunity Department at UTHealth,

 4. Sheri Wakefield, Director, Individually and in her official capacity as EEO & Title
    IXCoordinator, HR EEO at MDA,

 5. Yolan A. Campbell, Individually and in her official capacity as Associate Vice
    President,HR Operations, HR Administration at MDA,

 6. Karen D. Reed, Individually and in her official capacity as Human Rights Specialist,
    HR at MDA,

 7. Michael Redwine, Individually and in his official capacity as UTMS, Chair of the
    SEPC,

 8. Vicki L. King, Individually and in her official capacity as Assistant Chief, University
    Police, Police Department-Special Ops, Converged Threat / Risk Protection &
    Investigationsat UTPD,

 9. Kimberly D. Miller, Individually and in her official capacity as Detective in the
    Threat Management Investigations division with UTPD,

 10. Patricia J. Williams, Individually and in her official capacity as Inspector in the
     Threat Management Unit, Special Operations Bureau with UTPD.

 Relief Requested: Plaintiff seeks all relief permissible under Sections 3 and 3a of Article
 I of the Texas Constitution, including injunctive, declaratory and equitable relief.

 As to violations of the Fourteenth Amendment of the Constitution of the United States
 under 42 U.S.C. §1983 against the individual defendants in their individual capacities,
 the relief requested may include monetary damages, attorneys’ fees and costs, punitive
 damages, injunctive, declaratory and equitable relief. Monetary damages may include loss
 of back pay and employment benefits, front pay, compensatory damages such as future
 pecuniary losses, past, present and future salary and benefits, emotional pain, suffering,
 inconvenience, mental anguish, damage/losses to his reputation and future learning and
 professional opportunities, and other nonpecuniary losses, prejudgment interest, post
 judgment interest, attorneys’ fees, expert witness fees, and costs.

 Declaratory, Injunctive and Equitable Relief is sought against the individual defendants
 in their official capacities and includes non-monetary relief such as continuing and
 prospective injunctive, declaratory and equitable relief as set forth in section B, supra,
 and as alleged in Plaintiff’s Second Amended Complaint.
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E.    Violation of Title IX of the Education Amendments of 1972, Title 20 U.S.C. §§ 1681-
      1686, et seq.

      Defendants against whom claims are brought:

      1. MD Anderson Cancer Center,

      2. University of Texas Health Science Center.

      Relief Requested: Plaintiff seeks all relief permissible under Title 20 U.S.C. §§ 1681-
      1686, including monetary damages, attorneys’ fees and costs, injunctive, declaratory and
      equitable relief. Monetary damages against the entity defendants may include loss of back
      pay and employment benefits, front pay, compensatory damages such as future pecuniary
      losses, past, present and future salary and benefits, emotional pain, suffering,
      inconvenience, mental anguish, damage/losses to his reputation and future learning and
      professional opportunities, and other nonpecuniary losses, prejudgment interest, post
      judgment interest, attorneys’ fees, expert witness fees, and costs.

      Declaratory, injunctive and equitable relief is sought against the entity defendants under
      Title IX and may include retroactive, continuing and prospective injunctive relief as set
      forth in section A, supra, and as alleged in Plaintiff’s Second Amended Complaint.

F.    Violation of the “Takings Clause” of Article I, §17 of the Texas Constitution, in that
      citizens are protected from property being taken, damaged or destroyed for or applied to
      public use without adequate compensation or consent.

      Defendants against whom claims are brought:

      1. MD Anderson Cancer Center,

      2. University of Texas Health Science Center.

      Relief Requested: Plaintiff seeks all relief permissible under the Takings Clause of the
      Texas Constitution which may include monetary damages, attorneys’ fees and costs,
      injunctive, declaratory and equitable relief. Plaintiff seeks monetary damages for the
      improper “Taking” against the entity defendants and may include the monetary value of
      any loss of any research grant and its’ financial benefits, any research award and its’
      financial benefits, research materials, and any employment contract arising out of the
      research grants/awards and related opportunities taken from John Doe by these
      Defendants, including loss of back pay and employment benefits, front pay,
      compensatory damages such as future pecuniary losses, past, present and future salary and
      benefits, emotionalpain, suffering, inconvenience, mental anguish, damage/losses to his
      reputation and future learning and professional opportunities, and other nonpecuniary
      losses, prejudgment interest, post judgment interest, attorneys’ fees, expert witness fees,
      and costs.
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      Declaratory, injunctive and equitable relief is sought against the entity defendants and
      may include retroactive, continuing and prospective injunctive, declaratory and equitable
      relief, as set forth in sections A, supra, and as alleged in Plaintiff’s Second Amended
      Complaint.

G.    Conspiracy under Title 42 U.S.C. §1983 – Violation of Constitutional Rights pursuant
      to the Fourth, Fifth and Fourteenth amendment of the United States Constitution.

      Defendants against whom claims are brought:

      1. Margaret McNeese, Individually and in her official capacity as UTH Vice Dean
         forAdmissions and Student Affairs and UTH Title IX Coordinator;

      2. Deana Moylan, Individually and in her official capacity as Title IX Coordinator
         andAssociate Vice President of Diversity and Equal Opportunity at UTHealth,

      3. Tiffany Dillard Obeng, Individually and in her official capacity as EEO Advisor in
         theDiversity & Equal Opportunity Department at UTHealth,

      4. Sheri Wakefield, Director, Individually and in her official capacity as EEO & Title
         IXCoordinator, HR EEO at MDA,

      5. Yolan A. Campbell, Individually and in her official capacity as Associate Vice
         President,HR Operations, HR Administration at MDA,

      6. Karen D. Reed, Individually and in her official capacity as Human Rights Specialist,
         HR at MDA,

      7. Michael Redwine, Individually and in his official capacity as UTMS, Chair of the
         SEPC,

      8. Vicki L. King, Individually and in her official capacity as Assistant Chief, University
         Police, Police Department-Special Ops, Converged Threat / Risk Protection &
         Investigationsat UTPD,

      9. Kimberly D. Miller, Individually and in her official capacity as Detective in the
         Threat Management Investigations division with UTPD,

      10. Patricia J. Williams, Individually and in her official capacity as Inspector in the
          Threat Management Unit, Special Operations Bureau with UTPD.

      Relief Requested: Plaintiff seeks all relief permissible under Title 42 U.S.C. §1983
      (conspiracy), including monetary damages, attorneys’ fees and costs, injunctive,
      declaratory and equitable relief. Plaintiff seeks monetary damages against the individual
      defendants in their individual capacities which may include loss of back pay and
      employment benefits, front pay, compensatory damages such as future pecuniary losses,
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       past, present and future salary and benefits, emotional pain, suffering, inconvenience,
       mental anguish, damage/losses to his reputation and future learning and professional
       opportunities, and other nonpecuniary losses, prejudgment interest, post judgment
       interest, attorneys’ fees, expert witness fees, and costs.

       Injunctive, declaratory and equitable relief is sought against the individual defendants
       in their official capacities and may include continuing and prospective injunctive relief
       as set forth in Section B, supra, and as alleged in Plaintiff’s Second Amended Complaint.

        Due to the complexity of the damages involved, the aforementioned discussion relating
to “Relief Requested” should be viewed as a damage summary designed to characterize the
general types of damages sought against each defendant in their respective capacities relating to
the pertinent claim rather than, for example, an exhaustive list of each instance of injunctive or
equitable relief sought. Any letter agreement submitted to the Court is limited to an agreement
regarding which claims are asserted against which Defendants (with the exception of non-
monetary damages sought for claims brought against individual defendants in their official
capacities, as set forth above), as the Court directed, rather than include any stipulation relating
to damages.

        While Defendants dispute each of Plaintiff’s claims and various issues remain as to the
immunities, standing to sue and/or capacity to be sued, exhaustion of remedies, limitation of
actions, and failure to state certain claims, by his signature below, counsel for the named and
served Defendants acknowledges Plaintiff’s representations above for purposes of proceeding
with motions to dismiss under Rule 12(b).

       The parties propose the following briefing schedule for the anticipated 12(b) motions:

       Defendants’ deadline to file motions to dismiss under Rule 12(b): February 22, 2022

       Plaintiff’s deadline to file responses to 12(b) motions:              April 4, 2022

       Defendants’ deadline to file replies to Plaintiff’s responses:        April 19, 2022

       Defendants anticipate filing one motion for the entity Defendants and one motion for the
individual Defendants.

                                                      Respectfully,

                                                      KRENEK LAW OFFICES, PLLC

                                                       /s/ Eddie M. Krenek
                                                      Eddie M. Krenek
                                                      Texas Bar No. 11724980
                                                      Federal Bar No. 10887

                                                      Attorney-in-Charge for Plaintiff
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ACKNOWLEDGEMENT:


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